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                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, JoshuaWoodruff (hereafterAffiant), being duly sworn, hereby deposeand say:

       1.     Affiant makesthis affidavit in supportof criminal complaint.

       Affiant has been employed as a Special Agent (SA) with the United States Department of

Homeland Security, Homeland Security Investigations (HSI) in the office of the Resident Agent

in Charge, Mobile, Alabama. Affiant has been a Special Agent with HSI since May of 2024. Prior

to HSI I served as a Federal Law Enforcement Officer with Customs and Border Protection since

2020. 1 served in both land and seaports, conducting arrest, customs and immigration law

enforcement. Affiant is a federal law enforcement officer who is engaged in enforcing the criminal

laws, including 18 U.S.C. § 1343and 18U.S.C. § 1349,and is authorizedby the Attorney General

of the United Statesto requestthis arrestwarrant.

       The facts in this affidavit come from my personal observations,training, and experience,

as well as information obtained from other agents,law enforcement officers, and witnesses. I

submit my affidavit for the limited purposeof securing a criminal complaint. Thus, I have not

included each fact obtained during the investigation or my knowledge of all matters in my

investigation, which is ongoing. My affidavit is only intended to establish probable cause that

CHAT,VIN TAN a/k/a Chalvin Tan Jia Hao (“TAN”) and other individuals,known and

unknown, have violated federal statutes,including but not limited to 18 U.S.C. §§ 1343 (Fraud by

wire, radio or television) and 1349 (conspiracy to commit wire fraud) in the Southern District of

Alabama and elsewhere. All dates, times, locations, and amounts listed in my affidavit are

approxlmatrons.

       TAN and others have been identified in a fraud involving the theft of genuine electronic

products and the replacement of those genuine products with counterfeit products in a large-scale
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retail theft schemebeing conductedthroughoutthe United States. The schemeinvolves the
      It
purchaseof genuine Apple products from retailers such as Target. Counterfeit products are then

placed into a mold (Jig) where the laserengraversalter the counterfeit productsto appearto have

the samemarkings as the genuine products. After the alteration process is complete the altered

products are returnedto the store and money is returned, where then the schemecontinues. The

latest occurrence involving TAN happened within the Southern District of Alabama.

           On July 16, 2024, the Baldwin County SherifFs Office (BCSO) performed a traffic stop of

Vincent Tang (“VINCENT”) in Baldwin County for distracteddriving. During the stop, deputies

noticed severalcardboardboxes and electronic devices in the rear cargo areawith a white towel

partially covering the items. Deputies noticed a device with a laser logo, which deputies suspected

was for usein counterfeiting. Deputy Kolbe askedfor consentto searchthe vehicle. VINCENT

gave consent. During the search, deputies discovered multiple boxes containing 180 pieces of

Apple electronic devices, appearing to be counterfeit. Deputies also found several “jigs“ shaped

and molded to hold the devices. Deputies also found laser devices that they had observed earlier,

which were confirmed to be engraving/etching devices. Deputies discovered several Target

receipts from Louisiana, Alabama, and Florida store locations. Deputies found several authentic

Apple devicesthat had been repackagedin plastic bagsand preparedfor shipping. Deputy Kolbe

determinedthat the items were being legitimately purchasedfrom Target stores,replaced with

counterfeit items, and returned to another Target location where the funds were returned. The

authentic devices were packaged for resale or shipping. VINCENT was detained and relocated to

the sherifFsoffice for fUrtherinvestigation.

           BCSOcontactedHSI Mobile for assistancein the investigation. SpecialAgentsMark

Phillips and I met with Baldwin County Sheriff Deputy Jason Kolbe, to conduct an interview of



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VINCENT at Sheriffs Office. VINCENT wasa Malaysiannonimmigrantwho enteredthe United

Statesfor the purposeof a wedding. However, VINCENT had beentravelling the U.S. for tourism

sincethen.Whenaskedaboutthe engraversandcounterfeitproductswithin the vehicleVINCENT

statedthat they did not belong to him, and he had not used them and denied knowing what they

were for. All the items from the vehicle were seized,and VINCENT was released.

       Subsequentto the interview, VINCENT contactedTAN for a ride from the BCSO where

Sheriff Deputy Kolbe had a consensualencounterwith TAN.           TAN arrived in a vehicle with a

California plate. TAN told deputiesthat he and VINCENT were traveling together prior to the

traffic stop. During the conversation,Deputy Kolbe noticed a black duffel bag on the floorboard

with Apple boxes wrapped in Target bags in plain view. When asked about the bag, TAN stated

they belongedto VINCENT, A searchof TAN’s car was conductedbecauseit containedknown

counterfeit items or items linked to VINCENT'S criminal activities involving counterfeit items.

During the search,deputiesfound counterfeit devicesthat had beenrepackedinto legitimate Apple

packaging, inside the Target bags with receipts, and were ready for return to another store. TAN

also had several debit cards on his person and his wallet, which were used to purchase the items

found in his car. VINCENT    was arrested for trafficking   stolen identities, theft of trade secrets,

and possessionof a forgery device, and TAN was arrested for trafficking in stolen identities and

theft of trade secrets.

       During my investigation, I contactedTarget Investigator Andrew Dubiel regarding the

scheme of genuine purchase to return of counterfeit products at target locations. Investigator

Dubiel stated that he had been tracking a scheme linked to TAN and would provide a spreadsheet

of locations hit. Target Investigator provided an excel spreadsheetof storesthat had been the




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victim of fraudulent returns. I requested video footage of the transactions involving suspected

individuals.

       I received an email containing video footage of one of the suspectedtransactionsas well

as copies of transactionreceipt. I reviewed the video surveillance of the Gulf Shores,Alabama

Target purchase/exchangeand identified TAN as the individual conducting the transaction. TAN

can be seen at the target counter conducting a return to the Target store. This return was flagged

as “Known theft – Return Fraud -Empty Package/ Incorrect Item” Incident number x8023 by the

Target Store. TAN can be seen in a dark grey pants and a short sleeve tan t-shirt departing the

store with a Target bag appearingto contain a replacement Apple product. His forearm tattoos

easily identify him as the individual conductingthe transaction. During this investigation and in

my experience,I know that a purchaseand/or return transaction at a retail store such as Target

causesan interstatewire communication outsidethe stateof Alabama.

       On July 25, 2024, HSI Special Agent Kent Blacklidge and I conductedan interview at the

HSI Mobile office with TAN. TAN was advisedof his Miranda rights and agreedto waive them

and speak with investigators. Subsequentto the Miranda, I interviewed TAN, and he confessed

that he had participated in the scheme with other co-conspiratorsto defraud Target locations

genuineApple products.

       TAN stated that before he arrived to the United States,he spoke with a friend in Malaysia

who knew an individual as known as “ALLEN,” who could help him make money. Upon arriving

to the United States,TAN had contacted ALLEN and coordinated to be picked up from the airport.

At the airport, a man named “CHENG” arrived and showed him around Los Angeles. After being

here for approximately one month, TAN stated he received a phone call from ALLEN, who stated




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CHENG had been arrestedand askedif he would comework in his place. TAN statedhe agreed

to work with ALLEN and met with ALLEN who purchased a rental car for him.

       TAN stated that his role in the scheme was to go purchase genuine products from Target

and photograph it and send the photographs to ALLEN, who resided in Los Angeles, California.

Subsequently, ALLEN would laser engrave the counterfeit products, and then provide TAN with

the altered product. TAN would return/exchangecounterfeit products at a Target location and

receivemonetaryinstrumentsfrom Target in exchange.Additionally, TAN statedthat ALLEN

would give him the addressof a location overseasin Hong Kong China where he would mail the

genuine products back. When asked where the counterfeit products came from, he replied he did

not know the physical location. TAN statedthat ALLEN would get counterfeit products from Los

Angeles, California and bring them to him for the exchange.

       TAN was asked how he received payment for the products he stated that he would go to

money exchangerestaurants,one which was in Dallas, Texas and the other in Los Angeles,

California. TAN statedthat someonein China would sendthe money to the restaurant and that he

would go there and tell them how much he needed,and the restaurants would provide US currency

to TAN.

       Additionally,   TAN admitted to knowing and utilizing another product exchange service in

Los Angeles,California in addition to the previous locations. TAN admittedto selling genuine

Apple products to an individual he knows who resides in a house in California using the cell phone

application WECHAT.        TAN stated he received counterfeits and money in exchange. TAN

explained that throughout the scheme,he would often communicate with co-conspirators through

cell phone messaging to others involved in the scheme to discuss plans and obtain directions.

Thesephone communications caused multiple interstate wire communications.



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      TAN stated that he worked with ALLEN until his arrest in Oklahoma, Texas. After

ALLEN’s arrest,he continuedthis schemewith VINCENT. TAN admittedto working with

VINCENT for the last few weeks to continue the purchase of genuine Apple products and the

returnof counterfeitproducts.

      In conclusion, I believe probable causeexists that Chalvin TAN, and other individuals,

known and unknown, have violated 18 U.S.C. §§ 1343 (Fraud by wire, radio or television),

18U.S.C. §§ 1349 (Conspiracyto commit wire fraud), and other federal statutesin the

Southern District of Alabama and elsewhere.



   Dated July 25, 2024.                          JOSHUA   D        DOnny signed by JOSHUA D
                                                                   WOODRUFF
                                                 WOODRU       FF   Date: 2024.07.2517S907 45'00'


                                                JoshuaDavid Woodruff
                                                SpecialAgent
                                                HomelandSecurityInvestigations

THE ABOVE AGENT HAS ATTESTED
TO THIS AFFDAVIT PURSU
FED. R. CRIM. P. 4.1(b)(2)(B)
DAY OF JULY 2024



              i'&EilsH
UNITEDSTATESMAGISTRATEJUDGE




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